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                                                             JUDGE MARSHA J. PECHMAN
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 6                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 7                                   AT SEATTLE
 8
     UNITED STATES OF AMERICA,                    )    No. CR13-54 MJP
 9                                                )
                   Plaintiff,                     )
10                                                )    ORDER GRANTING DEFENDANT’S
            v.                                    )    MOTION TO CONTINUE TRIAL AND
11                                                )    PRETRIAL MOTIONS DATES
     LY HO,                                       )
12                                                )
                   Defendant.                     )
13                                                )
14          THE COURT has considered the defendants’ motion for a continuance of the trial
15   and the pretrial motions dates. The Court finds that the ends of justice will be served by
16   ordering a continuance in this case, that a continuance is necessary to ensure adequate
17   time for effective case preparation, and that these factors outweigh the best interests of
18   the public and the defendant in a speedy trial.
19          THE COURT further finds that the period of time from the date this motion was
20   filed, until the new trial date of January 12, 2015, shall be excludable time pursuant to the
21   Speedy Trial Act, 18 U.S.C. § 3161 et seq.
22   //
23   //
24   //
25   //
26
     ORDER GRANTING MOTION TO CONTINUE                         RICHARD WARNER, WSBA #21399
     TRIAL DATE & PRETRIAL MOTIONS DUE                       RICHARD WARNER LAW CORP., P.S.
                                                                      701 5th Avenue., Suite 4200
     DATE - 1
                                                                       Seattle, Washington 98104
     (Ly Ho, CR 13-54)                                                            (206) 225-7505
             Case 2:13-cr-00054-RSL     Document 210       Filed 07/22/14      Page 2 of 2




 1           IT IS THEREFORE ORDERED that the trial date in this matter is continued to
 2   January 12, 2015 and that pretrial motions shall be filed no later than September 29,
 3   2014.
 4
             DONE this 22nd day of July, 2014.
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 6
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 8
                                                      A
                                                      Marsha J. Pechman
 9                                                    United States District Judge

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11
12   Presented by:
     s/ Richard Warner
13   Attorney for Ly Ho
14
     s/ Sarah Y. Vogel
15   Assistant United States Attorney
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26
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